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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                           12/29/2020
DANIEL SILVA, et al.,                                     :
                                                          :
                                         Plaintiffs,      :
                                                          :              20-CV-4402 (VSB)
                           -against-                      :
                                                          :                  ORDER
KINJO INC., et al.,                                       :
                                                          :
                                         Defendants. :
                                                          :
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VERNON S. BRODERICK, United States District Judge:

         Plaintiffs filed this action on June 9, 2020, (Doc. 1), and filed an affidavits of service on

September 3, 2020 on Defendants Adam Kim, Andy Lau, Dakota Petito, Gary Cheung, June

Doe, Karen Ng, Raymond Doe, Sammy Doe, and Shirley Cheung, (Docs. 29–32, 34–35, 37–39).

The deadline for Defendants to respond to Plaintiffs’ complaint was September 4, 2020. (See

Docs. 29–32, 34–35, 37–39.) To date, these defendants have not responded to the complaint.

Plaintiffs, however, have taken no action to prosecute this case. Accordingly, if Plaintiffs intend

to seek a default judgment they are directed to do so in accordance with Rule 4(H) of my

Individual Rules and Practices in Civil Cases by no later than January 11, 2021. If Plaintiffs fail

to do so or otherwise demonstrate that they intend to prosecute this litigation, I may dismiss this

case for failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).

SO ORDERED.

Dated:       December 29, 2020
             New York, New York                               ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
